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  17
  18                      UNITED STATES DISTRICT COURT
  19                    CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
  20
  21
  22   STATE OF CALIFORNIA, et al., )        Case No. 2:19-cv-7390 DMG(AGRx)
                                       )
  23           Plaintiffs,             )     STATUS REPORT
                                       )
  24   v.                              )
                                       )     Hearing Date: Not Set
  25   ALEJANDRO MAYORKAS,                   Hon. Dolly M. Gee
       Secretary of Homeland Security, )
  26   et al.,                         )
                                       )
  27           Defendants.             )
  28                                   )
                                       )
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   1         Defendants submit this Status Report concerning the parties’ Stipulation Re
   2 Dismissal Without Prejudice (“Stipulation”) as to Defendant U.S. Department of
   3 Health and Human Services and Defendant Xavier Becerra, in his official capacity as
   4 Secretary of the U.S. Department of Health and Human Services (collectively “HHS”).
   5 See ECF No. 143.
   6         In this matter, Plaintiffs challenged the joint rule promulgated by HHS and the
   7 Department of Homeland Security in August 2019 relating to the Flores Settlement
   8 Agreement. Complaint, ECF No. 1 (Aug. 26, 2019). Plaintiffs asked this Court to,
   9 among other things, “vacat[e] the Rule as unlawful.” Id. at 120. This Court stayed
  10 the case, given related litigation in Flores v. Garland, et al., No. 85-4544-DMG, and
  11 this Court’s order in that case permanently enjoining the rule. ECF Nos. 89, 95. That
  12 related litigation culminated in a Ninth Circuit decision that partially affirmed this
  13 Court’s injunction and held that with some exceptions, the HHS rule could go into
  14 effect. Flores v. Rosen, 984 F.3d 720, 744 (9th Cir. 2020). After that decision, on
  15 January 20, 2021, at Plaintiffs’ request, this Court lifted the stay in the instant case and
  16 ordered the parties to submit supplemental briefing on the aspects of Plaintiffs’
  17 preliminary-injunction motion that were not resolved by the Ninth Circuit’s recent
  18 decision in Flores v. Rosen. ECF Nos. 103, 106. On February 5, 2021, Plaintiffs filed
  19 their supplemental brief requesting a narrowed preliminary injunction, alleging that
  20 several portions of the HHS Flores rule violate the Administrative Procedure Act
  21 irrespective of their compliance with the Flores Settlement Agreement. See ECF No.
  22 112 at 9-10.
  23         The parties then began settlement discussions regarding Plaintiffs’ challenge to
  24
       the HHS rule. Those discussions resulted in a settlement agreement whereby Plaintiffs
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       would dismiss their claims against HHS after HHS promulgated a Final Rule making
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       certain changes to the challenged regulations, and HHS would forgo seeking
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       termination of the Flores Settlement Agreement until 180 days after that Final Rule
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       was published. See ECF No. 143. Consistent with this Stipulation, the parties agreed



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   1 that prior to a stipulated dismissal, HHS would submit any Final Rule for clearance to
   2 the U.S. Office of Management and Budget (“OMB”) by December 7, 2021.
   3       On December 10, 2021, undersigned counsel apprised counsel for Plaintiffs,
   4 and now apprise the Court, of the following developments: HHS does not plan to seek
   5 termination of the Flores Settlement Agreement under the terms of the Stipulation or
   6 to ask this Court to lift its injunction of the HHS regulations in Flores v. Garland, et
   7 al., No. 85-4544-DMG, at this time. HHS therefore does not intend to submit a Final
   8 Rule to OMB that would make the minor conforming changes to the enjoined
   9 regulations as detailed in the parties’ Stipulation. Instead, HHS is considering a future
  10 rulemaking that would more broadly address issues related to the custody of
  11 unaccompanied minors by HHS and that would replace the rule being challenged in
  12 this litigation.
  13         Defendants maintain that this development will not adversely affect Plaintiffs.
  14 The HHS Flores rule, Apprehension, Processing, Care, and Custody of Alien Minors
  15 and Unaccompanied Alien Children, 84 Fed. Reg. 44,392 (Aug. 23, 2019), remains
  16 permanently enjoined in the parallel litigation Flores v. Garland, et al., No. 85-4544-
  17 DMG.
  18         Since Defendants are not taking the steps set forth in the Stipulation, dismissal
  19 under the Stipulation is not warranted. However, Defendants intend to engage with
  20 Plaintiffs on the matter to explore a resolution of this matter that would not require
  21 further litigation.
  22
  23 Dated: December 10, 2021                        Respectfully submitted,
  24
  25                                                 BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General
  26                                                 Civil Division
  27
                                                     AUGUST E. FLENTJE
  28                                                 Special Counsel



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   1                             CERTIFICATE OF SERVICE
   2
   3 IT IS HEREBY CERTIFIED THAT:
   4
   5 I, Fizza Batool, am a citizen of the United States and am at least eighteen years of age.
   6 My business address is 450 Fifth Street, NW, Washington, DC 20001. I am not a party
   7 to the above-entitled action. I have caused service of the accompanying STATUS
   8 REPORT on all counsel of record, by electronically filing the foregoing with the
   9 Clerk of the District Court using its ECF System, which electronically provides notice.
  10 I declare under penalty of perjury that the foregoing is true and correct.
  11
  12 DATED: December 10, 2021
  13
                                                          /s/ Fizza Batool
  14                                                      FIZZA BATOOL
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